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 4
                                      UNITED STATES BANKRUPTCY COURT
 5                                    NORTHERN DISTRICT OF CALIFORNIA

 6    IN RE:                                                       CASE NO: 21-30202
       Theos Fedro Holdings, LLC                                   DECLARATION OF MAILING
 7
                                                                   CERTIFICATE OF SERVICE
 8                                                                 Chapter: 11
                                                                   Judge: Hon. Dennis Montali
                                                                   Hearing Location: AT&T Connect Teleconference-Zoom Video
 9
                                                                   Conference
                                                                   Hearing Date: February 25, 2022
10                                                                 Hearing Time: 10:30 a.m.

11
     On 2/15/2022, I did cause a copy of the following documents, described below,
12   Pender Capital's Opposition to Motion to (1) Sell Real Property Free and Clear of Liens and Interest, etc. - Declarations
     of J. Rios and Z. Murphy in Support Thereof
13
     Pender Capital's Opposition to Motion to Sell Real Property Subject to Overbid and Pay Real Estate Commission;
     Declarations of J. Rios and Z. Murphy in Support Thereof
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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
20
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
21
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
22   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
23   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
24   served electronically with the documents described herein per the ECF/PACER system.

25   DATED: 2/15/2022
                                                      /s/ Jason E. Rios
26                                                    Jason E. Rios 190086
                                                      Attorney at Law
27                                                    Felderstein Fitzgerald Willoughby Pascuzzi & Rios LLP
                                                      500 Capitol Mall, Suite 2250
28                                                    Sacramento, CA 95814
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                                                             of 3
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                                       UNITED STATES BANKRUPTCY COURT
 4                                     NORTHERN DISTRICT OF CALIFORNIA
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        IN RE:                                                           CASE NO: 21-30202
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        Theos Fedro Holdings, LLC                                        CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
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 8                                                                       Judge: Hon. Dennis Montali
                                                                         Hearing Location: AT&T Connect Teleconference-Zoom Video
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                                                                         Hearing Date: February 25, 2022
                                                                         Hearing Time: 10:30 a.m.
10

11   On 2/15/2022, a copy of the following documents, described below,

     Pender Capital's Opposition to Motion to (1) Sell Real Property Free and Clear of Liens and Interest, etc. - Declarations
12   of J. Rios and Z. Murphy in Support Thereof

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     Declarations of J. Rios and Z. Murphy in Support Thereof
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20   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
21   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
22   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
23
     DATED: 2/15/2022
24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Jason E. Rios
                                                                  Felderstein Fitzgerald Willoughby Pascuzzi & Rios LLP
28                                                                500 Capitol Mall, Suite 2250
                                                                  Sacramento, CA 95814
             Case: 21-30202            Doc# 185-3          Filed: 02/15/22          Entered: 02/15/22 15:39:48                Page 2
                                                                    of 3
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM


HANSON BRIDGETT LLP                      MARC L. LIBARLE                          THEOS FEDRO HOLDINGS LLC
ATTN: MARTIN D. GOODMAN                  LAW OFFICES OF MARC L. LIBARLE           819 ELLIS STREET
50 PIEDMONT ST.                          1388 SUTTER STREET                       SAN FRANCISCO CA 94109
SAN FRANCISCO CA 94117                   SUITE 910
                                         SAN FRANCISCO CA 94109




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